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                                     UM TED STATES DISTRICT COURT
                                     SOUTH ERN DISTRICT OF FLORIDA

                                             CASENO.17-CR-20914                              Seal
                                                                                                e
 UNITED STATES OF AM ERICA

                                                                           FILED U ND ER SEA L

 ftAWRENCEW.PAuxy)u,a .,
                         D efendant.


                                             PLEA A G REEM ENT

      .
      ,    TheUnited StatesDepartm entofJustice,CriminalDivision,Fraud Section and theUnhed
          hN                     $
 StatesAttonyy'sOfficefortheSouthernDistrictofFlorida(collectively,theiçGovernmenf')and
               .   ..M



 LAW RENCE W .PARK ER,JR.(hereinafter referred to as1he lçdefendanf') enter into the
 followingagkeement:

                         The defehdanttmderstandsthathe hasthedghtto havethe evidence and charges

 againsthim presentedto afederalgrandjut'yfordeterminationofwhetherthereisprobablecause
 to believehecommitted the offenseforwhich heischarged. Understanding thatdght, and after

 ftzlland complete consultation with hiscounsel,thedefendantagreesto waive in open courtllis

 rightto prosecution by indictm entand agrees thatthe Governm entmay proceed by way ofan

 inform ation filedpursuanttoRule7 oftheFederalRulesofCriminalProcedtlre.

          2.             The defendantagreesto plead guilty to a single-cotmtirlform ation,which charges

 thedefendantwith conspiracy tocom mitan offenseagainstthèUrlited States,in violation ofTitle

 18,United StatesCode,Sbction 371.

                         The defendant is aware that the sentence willbe imposed by the Court after

 considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
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 Rsentencing Guidelines''). The defendantacknowledges and tmderstands thatthe Courtwill
 compute an advisory sentencetm derthe Sentencing Guidelinesand thattheapplicableguidelines

 willbedetennined bytheCourtrelying inpartontheresultsofapre-sentenceinvestigationbythe

 Court'sprobation oftke,which hwestigationwillcomm enceaftertheguilty pleahasbeen entered.

 The defendantis also aware that,under certain circllm stances,the Courtm ay departfrom the

 advisory Sentencing Guidelinesrangethatithascomputed,and m ay raiseorlowerthatadvisory

 sentence tmderthe Sentencing Guidelines. The defendantisfurtheraware and tmderstandsthat

 the Courtis reqtlired to considerthe advisory guideline range determ ined underthe Sentencing

 Guidelines,butisnotbotmdto imposeasentencewithinthatadvisoryrange;theCourtispennitted

 to tailortheultim atesentencein lightofotherstatutory concerns,and such sentencem aybeeither

 more severeorlessseverethan theSentencing Guidelines'advisory range. Knowingthesefacts,

 the defendant understmlds and acknowledges thatthe Courthms the authority to impose any

 sentencewithin and up to the statutory m axim llm authorized by law forth: offense identified in

 paragraph 2 and thatthe defendantm ay notwithdraw the plea solely as a resultofthe sentence

 imposed.

        4.      The defèndantalso tmderstandsand acknowledgesthatthe Courtm ay impose a

 statutory m aximum term ofimprisonmentofup to five years,followed by a term of supervised

 release ofup to three years. ln addition to a tenn ofimprisonmentand superdsed release,the

 Courtm ay im poseafineofup to $250,000 ornotm orethan the greateroftwicethe grossgain or
 gross lossresulting from the offense setforth in paragraph 2 above,and the Courtm ay also order

 forfeiture and restitution.

                The defendant fulher understands and acknovvledges that, in addition to any

 sentenceimposedtmderparagraph 4ofthisagreem ent,aspecialassessm entin theam ountof$100
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 willbe im posed on the defendant. The defendant agreesthatany specialassessm entimposed

  shallbepaid atthe tim e ofsentencing. Ifthedefendantissnancially unable to pay the special

 assessm ent,thedefendantagreesto presentevidencetothe Governm entand the Courtatthetim e

 ofsentencingastothereasonsforthedefendant'sfailtlretopay.

        6.     TheGovernmentreservesthedghtto inform theCourtandtheprobation oflk eof

 a11fadspertinentto the sentencing process,induding a11relevantinformation conceming the
 offenses com mitted, whether charged or not, as well as concerning the defendant and the

 defendant's backgrotmd. Subjectonly to the express terms of any agreed-upon sentencing
 recom mendationscontained in thisagreement,the Governm entfurtherreservestherightto make

 any recommendation asto thequality and quantity ofp lnishment.

               The Governm entagreesthatitwillrecomm end atsentencing thatthe Courtreduce

 by two levelsthe Sentencing Guidelines levelapplicableto the defendant'soffense,pm suantto

 Section 3E1.1(a) ofthe Sentencing Guidelines,based upon the defendant's recognition and
 affirmative and timely acceptance ofpersonalresponsibility. lf,atthe time of sentencing the

 defendant's offense levelisdeterm ined to be 16 orgreater,the Goverqmentwillfle a m otion

 requesting an additionalone level decrease pursuantto Section 3E1.1(b) of the Sentencing
 Guidelines,statingthatthedefendanthasassisted authoritiesin theinvestigation orprosecution of

 the defendant's own m isconductby tim ely notifying authorities ofthe defendant'sintention to

 enteraplea'ofguilty,therebypermittingtheGovernmenttoavoidprepmingfortrialandpermitting

 the governm entand the Cout'tto allocate theirresotlrces efficiently. The G overnm ent,how ever,

 willnotberequired to makethismotionandtMsrecommendationifthedefendant: (a)failsor
 refuses to m ake a 1 11, accurate and com plete disclosure to the probation office of the

 circllmstancessurroundingtherelevantoffenseconduct'
                                                   ,(b)isfotmdtohavemisrepresentedfacts
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 totheGovernmentpriortoenteringintotMspleaagreement;or(c)commitsanymisconductafter
  entering into tllis plea agreem ent,including,butnot limited to,committing a state or federal

 offense,violating any term ofrelease,orm aking false statements orm isrepresentationsto any

 govem m entalentity oroftk ial.

         8.    Thedefendantagreesthatheshallcooperatefully with theGovernmentby: (a)
 providingtrtzthflllandcompleteinformation andtestim ony,andproducingdocllm ents,recordsand

 otherevidence,whencalleduponbytheGovemment,whetherininterviews,beforeagrandjury,
 oratany trialorotherCourtproceeding;('b)appearingatsuch grandjlzryproceedings,headngs,
                                                                                    h

 trials,andotherjudicialproceedings,andatmeetings,asmayberequiredbytheGovernment;and
 (c)ifrequested by theGovernment,workingin antmdercoverroleunderthesupervision of,and
 in compliancewith,1aw enforcementofficersand agents. ln addition,the defendantagreesthat

 he willnotprotectany person orentity through false information orom ission,thathe willnot

 falsely implicateanyperson orentity,and thathethathewillnotcom mitmly furthercrimes.

        9.     The Governm ent reserves the right to evaluate the nature and extent of the

 defendant'scooperation andto m akethatcooperation,orlack thereof,known to the Cotu'tatthe
                                                          t
 timeofsentencing. IfinthesoleandtmreviewablejudgmentoftheGo'vernment,thedefendant's
 cooperation isofsuch quality andsigniscancetotheinvestigation orprosecution ofothercriminal

 m atters as to warrant the Court's downward departure from the advisory sentencing range

 calculated underthe Sentencing Guidelinesand/orany applicable minimllm m andatory sentence,

 the G overnm ent m ay m ake a m otion prior to sentencing pursuant to Section 5K 1.1 of the

 Sentencing Guidelinesand/o
                          'rTitle 18,United StatesCode,Section 35534$,orsubsequentto
 sentencing pursuantto Rule 35 of the FederalRules ofCrim inalProcedtlre,inform ing the Court

 thatthe defendanthas provided substantialassistance and recom mending thatthe defendant's
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  sentence be reduced. The defendant tmderstands and agrees, however, that nothing in this

  agreem ent requires the Governm ent to file any such m otions, and that the Government's

 assessm entofthe quality and significance ofthe defendant's cooperation shallbe binding asit

 relates to the appropriateness of the Govem ment's filing or non-filing ofa m otion to reduce

 sentence.

               The defendanttmderstandsand acknowledgesthattheCourtisundernoobligation

 to grantam otion forreduction ofsentencefled by the Governm ent. In addition,the defendant

 furthertmderstandsand acknowledgesthatthe Courtistm derno obligation ofany typeto reduce

 the defendant'ssentencebecause ofthedefendant'scooperation.

        11.    The Governm ent and the defendant agree that, although not binding on the

 probation office orthe Cotut they willjointly recomm
                                                    'end thatthe Cpurtmakethe following
 findingsand conclusionsasto thesentencetobe imposed:

               a.     Base Offense Level: The relevant base offense level under Sections

                      2X1.1(a)and2C1.1(a)(2)2B1.1(a)(2)oftheSentencingGuidelinesis12.
               b.     M oreThan OneBribe: Thedefendantshould receiveatwo-levelincrease

                      tmder Section 2C1.1(b)(1) of the Sentencing Guidelines because the
                      conspiracy involved m orethan onebribe.

               C.     Value ofPaym entor Beneft: The defendant should receive a 14-leve1

                      increaseunderSections2C1.1(b)(2)and2B1.1('
                                                               b)(1)(H)oftheSentencing
                      G uidelines because the conspiracy involved paym ents or benefits greater

                      than $550,000.

               d.     AdiustedOffenseLevel: Theapplicableadjustedoffenselevelunderal1of
                      thecircllmstancesoftheoffensecommittedbythedefendantls28.
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                           1

        12.    Thedefendantagreesto forfeittotheUnited Statesyoltmtarily and imm ediately a11

 property,realorpersonal,wllich constimtesorisderived from proceedstraceableto theviolation

 ofTitle 18,United StatesCode,Se'
                                dtion 371chargedin theIrlformation. Thedefendantagreesto

 consenttotheentry ofordersofforfeitureforsuchproperty andforamoneyjudgmentequalin
 valuetothetotalnmountofproceedstraceabletohisoffenseofconviction. Thedefendantadmits

 and agreesthattheconductdescribed in the Inform ation andFacm alProfferprovidesasufficient

 factualand statutory basisfortheforfeitureoftheproperty soughtby thegoyernm ent.

        13.    The defendantagréesto waiveany appealoftheforfeiture. Thedefendantwaives

 therequirementsofRules32.2 and43(a)oftheFederalRulesofCdminalProcedlzreregarding
 notice of the forfeiture in the Indictm ent or Infonnation, almouncem ent of the forfeiture at

 sentencing,and incorporation oftheforfeiturein thejudgment. Thedefendantalso waivesany
 failureby theCourtto advisethedefendantofany applicableforfeiture atthetim etheguilty plea

 isaccepted asrequired by Rule 11(b)(1)(J)oftheFederalRulesofCriminalProcedtzre. The
 defendantVrtheragreestowaiveanyapplicabletimelimitsfort
                                                       l
                                                        heinitiationofadministrativeor
 judicialforfeitureproceedingand/orfurthernotificationofanysuchforfeimrebroughtagainstthe
 property soughtforforfeiore.

        14.    The defendant also agrees to assist the G overnm ent in a11 proceedings,

 administrative orjudicial,involving forfeitureto the Urlited Statesofany property,including
 substitm eproperty,regardlessofitsnatureorfonn,realorpersonal,whichthedefendantorothers

 know n to the defendant,have accum ulated as a resultofillegalactivities. The defendantagrees

 thattheUnitedStatesshall,atitsoption,beentitledtoforfeitureofanypropetiy(substituteassets)
 ofthedefendantto satisfy themoneyjuctgment. Thedefendantfurtheragreestotakea11steps
 necessary to locatepropertythatcould beusedto satisfy theforfeimremoneyjudgmentandto
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 passtitleto theUnited Statesbeforethedefendant'ssentencing. To thatend,defendantagreesto

 fullyassistthegovem mentintherecovery andrettzrn totheUrlited Statesofany assçts,orportions

 thereof,whereverlocated.Theassistanceshallinclude:identitkation ofany property subjectto
 forfeiture,agreementto the entry ofan orderenjoizling the transfer or encllmbrance ofsuch
 property,and the transferofsuch property to the Uztited States by delivery to the Government,

 upontheGovernment'srequest,anynecessaryand appropriatedocum entation,including consents

 to forfeitureandquitclaim deeds,todelivergoodandmarketabletitleto suchproperty. TV
 defendantknowinglyandvoltmtarilyagreestowàiveanyclaim ordefensethedefendantmayhave

 tmdertheEighth Amendmentto theUnited StatesConstitution,including any claim ofexcessive

 fine orpenal'
             tywith respectto theforfeited assets.

                The defendant further understands that forfeittlre is independent of any

 mssessm ents,fines,costs,restitution,oranyotherpenalty thatmay beimposed bytheCourt. The

 defendantltnowingly andvoltmtmilywaiveganyclaim ordefensehemayhavetmdertheEighth
 Am endmentto the United StatesConstitution,including any claim ofexcessive fine orpenalty

 with respectto theforfeited property.

        16.    Thedefendantagreestom akefulland acctlratedisclostlreofllisfinancialaffairsto

 the Governm ent, and expressly authorizes the Governm ent to! obtain a. credit report. The

 defendantagreesthatwithin 10 calendardaysandupon requestoftheGovernm ent,thedefendant

 shallsubmitacomplçted FinancialDisclosttre Statement(form providedby theUnited States),
 and shallfully disclose and identify a11assetsin w hich he has any interestand/or overw hich the

 defendantexercises control,directly or indirectly,including those held by a spouse,nom inee,or

 othertllird party.

        17.    The defendant agrees that restitm ion is m andatory ptlrsuant to 18 U .S.C.
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  j3663A(c)(1)(A)(ii). Thedefendantagreestotheentry ofarestitution orderforthefu11nmotmt
 ofvictim losses. W ithoutlim iting the nm ountofrestitution the Courtm ustim pose,the parties

 agreethat,ataminimllm ,Sèrvicio diTelecom llnicacion diArtzbaN .V .isentitled to restitm ion in

 the amountof$701,750.
        18.    The defendantisaware thatTitle 18,United StatesCode,Section 3742 and Title

 28,United StatesCode,Seetion 1291affordthedefendanttherighttoappealthesentenceimposed

 in thiscase. Acknowledging this,in exchange fortheundertakingsm adeby the Governmentin

 thisplea agreem ent,the defçndanthereby waivesalldghtsconfen'
                                                             ed by Sections3742 and 1291

 to appealany sentence imposed,including any restitution order,orto appealthemannerin which

 thesentencewasimposed,unlessthesentenceexceedsthem axinrlm pennittedby statuteoristhe

 resultofan upward departure and/oran upward variance from theadvisory guideline range that

 the Courtestablishes at sentencing. The defendant further tmderstands that nothing in this

 agreem entshallaffecttheGovernm ent'sdghtand/ordutyto appealassetforthinTitle 18,Uzlited

 StatesCode,Section 374209 and Title28,United StatesCode,Sedion 1291. However,ifthe
 United States appeals the defendant's sentence ptlrsuantto Sections-'3742(19 and 1291,the
 defendantshallbereleased from theabovewaiverofappellaterights. By signingtlzisagreem ent,

 the defendantacknowledgesthatthe defendanthas discussed the appealwaiversetforth in this

 agreem entwith thedefendant'sattorney.

        19.    Thedefendantisawarethatthesentencehasnotyetbeen determ ined by theCourt.

 The defendantalso isaw arethatany estim ate oftheprobable sentencing range orsentencethatthe

 defendant m ay receive, whether that estim ate com es from the defendant's attorney, the

 Govee m ent,orthe probation office,is a prediction,nota promise,and is notbinding on the

 Govem m ent,the probation office,or the Court. The defendant tmderstands further that any

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 recomm endation thatthe Governm entmakesto the Courtasto sentencing,whetherptvsuantto

 this agreem ent or otherwisé, is not binding on the Cottrtand the Court may disregard the

 recomm endation in its entirety. The defendantunderstands and acknowledges,as previously

 acknowledged inparagraph 3above,thatthedefendantm aynotwithdraw hispleabased upon the

 Court's decision not to accept a sentencing recom mendation m ade by the defendant, the

 Government,orarecommendationmadejointlybythedefendantandtheGovernment.
         20.   This isthe entire agreem entand understanding between the Governmentand the

 defendant. Thereareno otheragreem ents,prom ises,representations,orunderstandings.

                                                  SAN D M M OSER
                                                  A CTW G CH IEF,FM UD SECTION
                                                  CriminalDivision
                                                  U.S.Departm entofJustice


 Date:    /a   /a3 l-7                     By:
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                                                  LA            .    ' R ,JR.
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